
The Disciplinary Review Board having filed with the Court its decision in DRB 17-169, concluding that as a matter of final discipline pursuant to Rule 1:20-13(c), MARIO J. PERSIANO, III, of HAINESPORT , who was admitted to the bar of this State in 2005, should be suspended from the practice of law for a period of three months based on respondent' guilty plea in the Superior Court of New Jersey, Camden County, to fourth-degree obstructing the administration of law or other governmental function in violation of N.J.S.A. 2C:29-1, conduct that violates RPC 8.4(b) (commission of a criminal act that reflects adversely on the lawyer's honesty, trustworthiness or fitness as a lawyer), and RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation;
And good cause appearing;
It is ORDERED that MARIO J. PERSIANO, III, is suspended from the practice of law for a period of three months, effective May 22, 2018, and until the further Order of the Court; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)(15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files proof of compliance; (2) be found to constitute a violation of **79RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further
ORDERED that the entire record of this matter be made a permanent part of *937respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
